       Case 1:19-cv-00977-ADA Document 401 Filed 12/28/20 Page 1 of 1




                  UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION
VLSI TECHNOLOGY LLC                      §
                                         §     CIVIL NO:
vs.                                      §     AU:19-CV-00977-ADA
                                         §
INTEL CORPORATION                        §

          ORDER SETTING MOTION HEARING BY ZOOM
         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
MOTION HEARING BY ZOOM on Tuesday, January 05, 2021 at 09:30 AM. The link for
the hearing will be sent by e-mail.

       IT IS SO ORDERED this 28th day of December, 2020.




                                         ______________________________
                                         ALAN D ALBRIGHT
                                         UNITED STATES DISTRICT JUDGE
